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                     UNITED STATES DISTRICT COURT

                         DISTRICT OF MINNESOTA

301, 712, 2103 AND 3151 LLC; 12
TWENTY-SECOND AND 1827
LASALLE LLC; 137 EAST
SEVENTEENTH STREET LLC; 1522    Case No. 0:20-cv-01904 (PAM/BRT)
LASALLE AVENUE LLC; 1728
SECOND AVENUE AND 1801 THIRD
AVENUE LLC; 1806 AND 1810 THIRD
AVENUE LLC; 1816, 1820 AND 1830
STEVENS AVENUE LLC; 1817            JOINT STATUS REPORT
SECOND AVENUE LLC; 1900 AND      REGARDING PROGRESS OF
1906 CLINTON AVENUE LLC; 1924                APPEAL
STEVENS AVENUE LLC; 2020
NICOLLET AVENUE LLC; 2101
THIRD AVENUE LLC; 2323 AND 2401
CLINTON AVENUE LLC; 2417, 2423
AND 2439 BLAISDELL AVENUE LLC;
2427 BLAISDELL AND 2432 FIRST
AVENUE LLC; 25 TWENTY-FIFTH
STREET LLC; 2535 CLINTON
AVENUE LLC; 2545 BLAISDELL
AVENUE LLC; 2609 HENNEPIN
AVENUE LLC; 2633 PLEASANT
AVENUE LLC; 2720 PILLSBURY
AVENUE LLC; 2738 AND 2750
PILLSBURY AVENUE LLC; 2809
PLEASANT AVENUE LLC; 600
FRANKLIN AVENUE LLC; AMY
SMITH; BLAISDELL 3322, LLC;
BLOOMINGTON 4035, LLC; BRYANT
AVENUE PROPERTIES LLC; COLFAX
APARTMENTS LLC; COLFAX VILLAS
I, LLC; DUPONT PROPERTIES LLC;
FLETCHER PROPERTIES, INC.;
FRANKLIN VILLA PARTNERSHIP,
L.L.P.; FREMONT APARTMENTS,
LLC; FREMONT TERRACE


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APARTMENTS, L.L.C.; GARFIELD
COURT PARTNERSHIP, L.L.P.;
GASPARRE NEW BOSTON SQUARE,
LLC; GATEWAY REAL ESTATE,
L.L.C.; JEC PROPERTIES, LLC;
LAGOON APARTMENTS, LLC; LL
LLC; NORTHERN GOPHER
ENTERPRISES, INC.; PATRICIA L.
FLETCHER, INC.; and RAY
PETERSON,

                   Plaintiffs,

v.

CITY OF MINNEAPOLIS,

                   Defendant.


      Pursuant to the Court’s Order dated December 16, 2020 (Dkt. No. 83),

Plaintiffs and Defendant hereby jointly submit the following status report regarding

the progress of Plaintiffs’ Appeal pending before the United States Court of Appeals

for the Eighth Circuit (Appeal No. 20-3493). Plaintiffs’ Appeal was docketed on

December 1, 2020 and Plaintiffs filed their Appellate Brief with Addendum and

Joint Appendix on January 28, 2021. Defendant filed its Appellee Brief on April 1,

2021. Plaintiffs filed their Reply Brief on June 2, 2021. The Parties are currently

awaiting a date from the Court for oral argument.




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      In accordance with the Court’s Order, the parties will submit another status

report within ninety (90) days of the filing of this report, or by December 13, 2021,

regarding the progress of the appeal.



      Respectfully submitted,



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Dated: September 13, 2021


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